Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 1 of 20

EXHIBIT 1
Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 2 of 20
DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5AF

THE LAKES AT LEMMON VALLEY

RENTAL / LEASE AGREEMENT

Date > 11/20/2022

Apartment Number : 3814

Parking Space # : Covered: 504 & Uncovered: 530

Mailbox # > ¥12

Lakes Username : TheLakesClubhouseResidential

Password : lemmonvalley

1. Parties: This Rent/Lease agreement is by and between THE LAKES AT LEMMON VALLEY (herein referred to

as Lessor), located at 7711 Sky Vista Parkway, Reno, Nevada 89506 and Dogbe, John LEASEHOLDER, and Dogbe,
Alberta LEASEHOLDER, herein referred to as Lessee(s), whose current address is: 7711 Sky Vista Parkway # 3814
Reno, Nevada 89606 for use as a private residence only. The apartment will be occupied by (_ 2 _) Resident(s)
hereinafter referred to_as Lessee(s). Persons not listed above may not stay in the apartment for more than three (3)
consecutive days without the written consent of the Lessor. To follow are the occupants who will be residing in the
above-referenced apartment:

2. Term: The initial term of this Lease Agreement shall commence on 11/20/2022, Termination shall be provided by
elther party at least Thirty (30) days before the end of this Lease term or renewal period or unless another Lease or
renewal is signed by the Lessor and Lessee(s). This Lease Agreement ends 14/19/2023, at midnight.

3. Rent and Security Deposit: Lessee(s) shall make all payments to The Lakes at Lemmon Valley. Lessee(s)
shall pay Monthly per calendar month, payable in advance and without demand at the on-site manager's office, online, or
by mail on or before the first day of each month (the due date) the following:

Apartment Rent : $1,749.00

€) Month-to-Month (i 6-mo.Lease () 1-Year Lease

Pet Rent $ 0.00 Per Month

Spectrum Cable : $ 40.00 Per Month

Water : $__TBD WILL VARY Per Month

Other : $

The Security Deposit for this apartment shall be : $ 250.00
PLUS Pet Deposit of : $0.00
PLUS Transfer Fee of : $ 0.00
OTHER ( ) : $.

For a TOTAL of $ 250,00

Rent unpaid after the due date is delinquent and automatically authorizes all remedies in this Lease. This deposit
will not be refunded upon the voluntary or involuntary termination of this Lease if Lessee(s) is responsible for any of the
following:

(a) If Lessee(s) breaches any of the covenants or agreements herein.
(b) lf Lessea(s) leaves the premises In such condition (normal wear and tear accepted) that Lessor's
costs are greater than the Security Deposit(s).

(c) lf Lessee(s) falls to pay any rents or other charges due the term, renewal, or hold over period.
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Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 3 of 20
DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5AF

THE LAKES AT LEMMON VALLEY

(d) If Lessee(s) fails to give thirty-day advance written notice of intent to surrender the premises.
- Surrender will be considered the day keys are returned and verification that the premises are vacated.

If ail rent is not paid on or before the THIRD (3rd) of each and every month and if Lessee(s) has not given notice
to vacate the property prior to that date, Lessee(s) agrees to pay an initial late charge on the FOURTH (4th) day of the
month in the amount of FIFTY ($50) DOLLARS. Rent is an independent covenant. Tenant(s) agree to pay a
TWENTY-FIVE ($25) DOLLAR fee for each returned check, plus initial and daily late charges until Lessor receives
acceptable payment. After two (2) returned checks, Tenant(s) will be required to pay via CASH PAY. All monies received
by the Lessor shall be first applied to non-rent items, then to rent. Lessee(s) shall not assign this Instrument or sublet the
premises or any part thereof. All late charges shall be considered liquidated damages for Lessor’s time, inconvenience,
and overhead (except for attorney's fees and litigation costs). Failure by Lessor to collect any of the above charges does
not waive the right to do so. The prorated amount from commencement date is $ 666.00.

4. Move Out Notice: Lessee(s) must provide the Lessor with at least thirty (30) day written notice of intent to
vacate, and it may not be sooner than the end of this Lease term or renewal period. Verbal notification will not be
accepted. Lessee(s)'s move out notice must terminate this Lease on the last day of the month following the next due date
for rent, but no sooner than thirty (30) days after the notice. If Lessor's move out form is not used, Lessee(s) Is responsible
for obtaining written acknowledgment from the Lessor's representative that the move out notice has been received. If
Lessee(s) falls to give thirty (30) day written move out notice, or if Lessee(s) moves out without rent being pald in full for the
entire lease term or renewal period, Lessee(s)'s Security deposit will not be refunded and will be liable for a cost of
re-letting charge of 85% of the base monthly rate, PLUS FUTURE RENTS AND OTHER SUMS TO WHICH THE
LESSOR IS ENTITLED. If Lessee(s) falls to move out on the agreed upon move out date, Lessee(s) will be considered a

HOLDOVER TENANT therefore responsible for an additional 25% rent increase per day for the entire length of the
holdover.

5. Renewal and Rent Increases: it is expressly understood by the parties that upon the expiration of the initial term
of this Lease, there will be an automatic renewal of this lease on a month to month basis at a 10% increase until a
subsequent Lease Is signed. This constitutes periodic tenancy, and Lessor and Lessee(s) herein are still bound by all
terms and conditions stated herein, the original Lease Agreement, along with any possible rent Increase. After the Initial
term of this Lease, Lessor shall be required to provide at least thirty (30) days written notice for any rent increase.

6. Right of Termination: After the expiration of the initial term of this Lease, this Lease may be terminated
without cause by the Lesseae(s) or Lessor herein by either party giving thirty (30) day advance written notice with
tenancy to terminate at the expiration of the thirty (30) day period. This notice does not release Lesseo(s) from
obligation to pay rent or any other charges due. If after the sald notice of termination has been given by either party,
and the Lessee(s) substantially vacates the premises prior to the end of the thirty (30) days, Lessor shall have the right to
re-enter and remove all property without being deamed guilty of any manner or trespass.

7. Pets: Tenant(s) agrees that no animal, reptiles, birds nor pet of any kind may be kept in, on or about the premises

by Lessee(s) or Lessee(s)'s guests without prior separate written agreement signed by the Lessor, except certified animals
to help the handicapped.

8. Utilities: Lessor will pay for Garbage, Sewer. Lessee(s) will pay for all other utilities, related deposits and
charges. lf heat, alr conditioning, gas, or electricity (if furnished) shall cease by reason of accident, strike, repairs,
alterations or improvements to be made or done to any part of the apparatus or appurtenances thereof, or by reason of
any cause beyond the control of the Lessor, the obligations of the Lessee(s) under this Lease shall not be affected in any
way, and the Lessee(s) agrees to hold the Lessor harmless against all claims accrued thereof. No rent abatement shall be
given due to any such interruption of utility service, or shall the Lessee(s) withhold any rent. TV cable channels provided by
Lessor may be changed during this Lease term, if such changes apply to all leases. Lessor may make changes or install

utility lines or equipment serving the apartment If such work is done in a reasonable manner and does not increase
Lessee(s)'s utility cost.

9. Acceptance: Lesses(s) has examined the premises and agreed to accept possession of it In Its present
condition, including but not limited to, expressed | ner implied. Lessee(s) has fully investigated the surrounding environment
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Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 4 of 20

THE LAKES AT LEMMON VALLEY

and all safety aspects and concerns; further, Lessee(s) agrees to hold Lessor harmless from claims for injury or loss or
damage to himself or to others resulting from any such defect. When Lessee(s) moves in, Lessor shall furnish light bulbs
and fluorescent bulbs (if required); thereafter, light bulbs and fluorescent bulbs of the same wattage will be replaced at
Lessee(s)'s expense. Lessor will not be liable to any occupant, guest, resident, or visitor for damage, injury, or any other
type of loss to person or property caused by criminal conduct of other persons, including but not limited to, theft, burglary,
robbery, assault, or any other crime, misdemeanor, or felony. Lessee(s) shall reimburse Lessor for any and all damage
due to negligence, misuse, abuse, or criminal activity by the Lessee(s) or any other person or persons or animal that
Lessee(s) permits or causes to be on or about the premises for the duration of his or her residency. Lessee(s) shall not
make any alterations to the apartment (e.g. wallpaper, paint, carpeting, fixtures, etc.) without the expressed written consent
of the Lessor. If alterations are made, Lessee(s) will be wholly financially responsible for restoring the apartment to its
original condition. Use of any other facility in this apartment community by any of the aforementioned persons, with or
without the consent of Lessor, shail be entirely gratuitous, and use thereof shall be wholly at the risk of the person or
persons using same. Further, Lessor shall not be liable for any injury or loss to person or persons property resulting from
such use. Lessee(s) acknowledges that anything provided by Lessor to improve security shall not be treated by Lessee(s)
as a guarantee against crime or a reduction in the risk of crime.

10. Non-Liability: Lessor is not liable to any Lessee(s), guest, or other person or persons for injury, damage, or loss
to person or property caused by criminal conduct of other persons, including theft, burglary, assault, vandalism, or any
other crime. Lessor will not be liable to any Lessee(s), guest, or other person or persons for personal injury or damage or
loss of personal property from fire, flood, water leaks, rain, hail, ice, snow, smoke, lightning, acts of God, wind, explosions,
earthquakes, and interruption of utilities. TENANTS ARE STRONGLY ADVISED TO PURCHASE RENTER'S
INSURANCE TO HELP PROTECT FROM ANY OF THE ABOVE OCCURRENCES. Lessee(s) acknowledges that
Lessor has no duty or obligation to remove ice, sleet, or snow from thls Leased property; however, Lessor may do so, in
whole or in part, with or without notice. If information on Lessee(s) or Lessee(s)'s rental history Is requested by others for
law enforcement or business purposes, lessor may provide it. Lessee(s) agrees to exercise due care for the safety and

security of Lessee(s) and all persons in Lessee(s)'s apartment; particularly in the use of dead bolt lock, keyless night locks,
window latches, and other security devices.

11, Entry of Lessor: Lessor may, at the Lessor's option, upon providing a minimum 24-hour notice, enter the
premises for any business deemed necessary by the Lessor as it pertains to the operation and ongoing concern of the
premises. Such instances may include, but are not limited to, preventative maintenance, safety inspections, suspected
water leaks or safety hazards, exercise of liens, repairs, suspected criminal activity, pest extermination, insurance adjuster
inspections, suspected unauthorized pet or pets or to remove unauthorized pet or pets, or showing of apartment after thirty
(30) day Notice of Intent To Vacate has been received by Lessor. In the event of an emergency, Lessor Is authorized to
enter the premises at any time, without advance notice.

12. Handicap Improvements: Lessee(s) Is required to obtain prior approval from Lessor for any alterations to

premises at Lessee(s)'s expense, and Lessee(s) may be required to submit an additional deposit to restore pramises to
original condition.

13. Default of Lessee(s): Lessee(s) Is in violation of this Agreement if any or all of the following conditions come to
exist:

(a) lf Lessee(s) fails to pay rent or any other accrued charges when due.

(b) If Lessee(s), their guest(s), or other person or persons do not reimburse Lessor for repairs or damages
caused by the aforementioned.

(c) If Lessee(s), thelr guest(s), or other person or persons violates any fire, safety, or criminal laws.

(d) Abandonment of apartment.

(e) lf Lessee(s), their guest(s), or other person or persons are found in possession, manufacture, or delivery

of a controlled substance, marijuana, narcotic, or drug paraphernalia as defined by Nevada State Law, or if any of the

above are found on the premises. The conduct of Lessee(s), their guest(s) or other person or persons shall not be loud,

obnoxious, or unlawful and shall not disturb the rights, comforts, health, safety, or conveniences of other persons in or

near the apartment community. Other prohibited activities are engaging or threatening violence or displaying or

discharging a weapon as prohibited by Nevada State Law, soliciting business or contributions, operating a business or
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Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 5 of 20
DocuSign Envelope ID: 40009B27-4EB2-4958-BCE1-3FF31DAEAS5AF

THE LAKES AT LEMMON VALLEY

childcare service, storing anything in closets that is hazardous or having gas appliances, bringing hazardous materials
onto any area of the apartment community, and using candles or kerosene lamps. Lessor may prohibit guests or other
persons who, in the Lessor's reasonable judgment have been violating the law, disturbing other Lessee(s) or
neighbors, or violating this Lease or apartment community rules and regulations.

14, Lessor's Obligation: If the condition requiring repair is on which makes the premises non-habltable as defined by
Nevada State Law, Lessor shall bear the expense of the repair unless the non-habitable condition Is occasloned by any of
the following, In which event Lessee(s) shall bear the expense of repair:

(a) Lessee(s) fallure to provide ordinary care,

(b) Lessea(s) fallure to keep the premises clean and sanitary.

(c) Lessee(s) failure to dispose of all rubbish, garbage, and other waste.

(d) Lessea(s) failure to properly use and operate all electrical, gas, and plumbing fixtures and keep them
clean and sanitary.

(e) Less(s) or any person or persons on the premises with Lessee(s) permission, willfully or purposely

destroys, defaces, damages, impairs, or removes any part of the premises or facilities, equipment, or appurtenances
thereto or to the common areas.

(f) Lassee(s) occupying the premises other than as his or her abode or utilizing living, sleeping, cooking, or
dining portions thereof for purposes other than those for which these portions were respectively designed or intended.

15. Nuisance: It is a misdemeanor to commit or maintain a public nuisance or to allow any bullding, automobile, or
boat to be used for public nuisance. Any person or persons who willfully refuse to remove such a nuisance when there Is a
legal duty to do so |s guilty of a misdemeanor. A public nuisance may be reported to the responsible government entity,
such as the Code Enforcement Division for Washoe County, the local Health Department, or the local Building
Department. If Lessee(s), any member of the Lessee(s) household, any guest or other person or persons under the
Lessea(s) control, commits or maintains a public nuisance or allows bullding, automobile, or boat to be used for public
nuisance, Lessee(s) will be In violation of this Lease and Lessor may terminate Lessee(s) right of occupancy by providing
Lessee(s) with a 3-day Notice to Vacate in writing,

16. Eviction: If Tenant(s) is in default of this Lease, Lessor's representative may terminate (with or without demand
for performance) Lessee(s) right of occupancy be giving Lessee(s) a 5-day Notice to Vacate In writing. Notice may
delivered by regular mail, Certified Mall, hand delivered, or attached to Lessea(s) entry door. After Notice to vacate is
given, or an eviction suit Is filed, Lessor may still accept rent or other sums due, and such Notlce will not waive or diminish
Lessor's right of eviction or any other contractual or statutory right. Regardless of subsequent re-letting, termination of
possession rights shall not ralease resident from liability of future rentals. All monthly rentals which are payable for the
remainder of the rental period shall be accelerated automatically without notice or demand and shall be immediately due
and delinquent. Such right of acceleration is In lieu of having rentals for the entlre term payable at the beginning of this
Lease. Lessee(s) will also be responsible for all eviction / lockout fees incurred by Lessor.

17. Sublet: Lessee(s) or any other occupant of this apartment may not sublet or assign his/her/thelr interest to
another person or persons without permission of the Lessor or his agent. Lessee(s) nor any other person or persons shall
not conduct or allow an unlawful business to be conducted In or about the leased apartment or apartment community,
Lessee(s), guests or any other person or persons affiliated with Lessee(s) may not cause or allow to be caused any type of
nuisance on or about the leased apartment or apartment community.

18. Abandonment: /f Lessea(s) and all other persons are absent from the premises for a period of 5 consecutive
days during the lease term or renewal or extension period while all or any portion of the rent is delinquent, without
notification to Lessor of such absence, the premises may be deemed by the Lessor as abandoned. There shall be no sale
or disposition of any of the foregoing property except pursuant to this Agreement. Lessor shall be entitled to charge
teasonable fees for packing, removing, or storing such abandoned property, and shall have the right to sell same at public
or private sale (subject to any recorded chattel mortgage or financing statement) after 30-day written notice of time and
place sent by Certifled Mall, Return Receipt Requested, to Lessee(s) last known addrass. Sale shall be to the highest cash
bidder and proceeds shall be first credited to the cost of the sale and then to the Indebtedness. Any surplus shall be malled
to the Lessee(s) | at the last known address. Lessee(s) hereby agree that any such re-entry or possession of —_—

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THE LAKES AT LEMMON VALLEY

property after a default by Lessee(s) shall not constitute any trespass, act of conversion, or any other torn on Lessor's part
or In any way render Lessor liable to Lessee(s). If the apartment is abandoned, Lessors representative may enter the
premises and remove and store ALL PROPERTY OF EVERY KIND found therein.

19. Release of Lessee(s): In the event Lessee(s) is/are or becomes a member of the Armed Forces on extended
duty and receivas Change of Duty Orders to depart the local area or is relieved from such active duty, Lessee(s) may
terminate this Lease Agreement by providing a 30-day written notice (if time allows), and the Security Deposit will be
refunded provided Lessee(s) is/are not in any way in default hereof. Lessee(s) agree to furnish Lessor a Certified
Copy of the Official Orders. Absolutely under no circumstances will the Lessee(s) be released on the grounds of voluntary
or involuntary school withdrawal or transfer, voluntary or involuntary business transfer, marriage, divorce, loss of

co-occupant, or voluntary enlistment In the Armed forces, or for any other reason whatsoever, Breach by any of the above
will result in forfeiture of the Security Deposit.

20. Amenities: Washing Machines or other equipment, if any, are furnished by Lessor for the convenience of the
Lessee(s) and are not to be construed In any manner as a part of the rental paid by the Lessea(s). The swimming pooi(s),
recreational and any other service facllities, if any, on the premises are for the use of the Lessee(s) only, at the discretion of
Lessor. Nothing herein contained shall be construed to require Lessor, during the term of this Agraement, to keep said
swimming pool and/or other facllitles in a condition for use by Lessee(s), and the time and manner of use or the closing,
temporarlly or permanently, of sald pool and/or factiities shall be at the sole discretion of Lessor and in accordance with the
rules and regulations Issued by Lessor. Any breach of sald rules and regulations shall constitute a breach hereof.

21, Sateilite Dish: Lessee(s) shall not install a Satellite Dish at any time in or about said premises without specific
written approval from Lessor.

22. Waterbeds: Lessee(s) shall not keep waterbeds in or about said premises.

23, No Walver: Fallure to exercise any right given by this Agreement by the Lessor shall not ba a waiver of any such

future right.

24. Full Agreement / Contract: The covenants and conditions of this Lease Agreement shall bind and benefit
respectively the Lessor and his successors and assigns, and the Lessee(s) and his/her executors, administrators, and
assigns, except as hereln otherwise specified, and this Lease Agreement, together with the rules and regulations herein
provided for, shall constitute the full and entire agreement between the parties.

25, Fire Sprinkler System: All apartments are equipped with fire sprinkler systems. No portion of the system shall
be changed, altered, or tampered with at any time. Sprinkler heads must not be painted, covered, or obstructed, nor must
anything be hung from them. All damages incurred in said apartment or any adjacent apartments shall be at the
Lessee(s) expense. TENANTS ARE STRONGLY ADVISED TO PURCHASE RENTER'S INSURANCE TO HELP
PROTECT FROM ANY OCCURRENCES IN CONJUNCTION WITH THE FIRE SPRINKLER SYSTEM.

26. Barbeques: Open flame barbeques, such as propane barbeques and traditional charcoal barbeques are NOT
PERMITTED at any time. Electric Barbeques are permitted on balconies only. Lessee(s) agree to use extreme caution
when operating said Barbeques, as Lessea(s) is/are responsible for any and all damages should they occur. Fire Code Is
subject to changer per City ordinances at any time.

The following Agreements / Addendums shall become part of this Lease Agreement (if applicable): "Policy Agreement’,
"Financial Contract Agreement", "Authorization to Enter", "Lease Addendum - Move In Allowance Special (Amortized)",
“Crime Free Lease Addendum”, "Key Agreement", "Parking Permit Agreement", "Pool Rules / Policies", “Satellite Dish
Agreement", "Pet Agreement", "New Construction Addendum", and "Emergency Evacuation Acknowledgment’.

LESSEE(S) ACKNOWLEDGES THAT HE/SHE/THEY HAVE READ AND THOROUGHLY UNDERSTAND WHOLLY
THIS LEASE AGREEMENT AND THAT IT IS A LEGAL AND BINDING DOCUMENT.

ACKNOWLEDGED AND AGREED this 11/20/2022.

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Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 7 of 20

THE LAKES AT LEMMON VALLEY

LESSEE: DocuSigned by:
( tlnsta Doge

Signature  cesaaararrarags
Alberta Dogbe

Printed Name

Current Address:

7711 Sky Vista Parkway

3814

Reno, Nv 89506

LESSEE: DocuSigned by:

Signature \—si9e7E 326001474,
John Dogbe

Printad Name

Current Address:

7711 Sky Vista Parkway

3814

Reno, Nv 89506

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Printed Name
Address:
7714 Sky Vista Parkway
3814

Reno, Nv 89506

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DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5AF

THE LAKES AT LEMMON VALLEY

PARKING AGREEMENT
Lessee(s) Name(s) : _Dogbe, John _& Dogbe, Alberta
Address : 7711 Sky Vista Parkway, Reno, Nevada 89506
Apartment Number : 3814
Parking Space # : Covered: 504 & Uncovered: 530
Mailbox # : ¥12
1. Lessee(s) agrees that the parking space # described above will be occupied by Lessee(s) ONLY.

Lessor will boot at a cost of $100.00 payable by Lessee(s) and/or tow Lessee(s) vehicle(s) at owner's expense if
parked in a non-designated (numbered) parking space.

2. Lessee(s) assumes sole responsibility for fire, theft, and damage insurance coverage. Lessor shall not be liable
for any losses resulting from vandalism, malicious mischief, theft, robbery, burglary, or defects on the premises, and
Lessee(s) agrees to hold Lessor harmless of and from any such injury, damage, loss, cost, or expense.

3. Lessee(s) agrees that It tis his/her/their responsibillty to ensure ALL guests have current vehicle registration.

4, This Addendum / Parking Agreement is incorporated with the Lease Agreement executed on or renewed this day
between Lessor and Lessee(s).

5. Lessee(s) agrees to reimburse the $40.00 charge per parking permit to Lessor for any lost, stolen, or damaged
parking permit(s) at time of replacement.

By signing below, | / We acknowledge that | / We have received One 1) Carport listed below, and | / We agree to all terms
and conditions herein.

YEAR MAKE/MODEL COLOR LICENSE # STATE CARPORT STICKER #
SPACE #
2017 KIA/Sportage| Silver JKT-3496
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THE LAKES AT LEMMON VALLEY

PET AGREEMENT
Lessea(s) Name(s) : Dogbe. John & Dogbe, Alberta
Apartment Number : 3814
Parking Space # : Covered: 504 & Uncovered: 530
Mailbox # : ¥12
This Pet Agreement is entered into this day of , 20 , and Lessee(s) agree to

the following terms and conditions, which Lessee(s) agrees to perform and observe by signing this Pet Agreement.

1. Lessee(s) is/are required to pay additional rent for Pet(s) as set forth below. This does not limit the Lessee(s)
responsibility or liability. Lessee(s) agrees to pay any and all costs associated with Pets housed at THE LAKES AT
LEMMON VALLEY.

2. Lessee(s) have hereby provided a DEPOSIT as set forth below: ~

Deposit Date: , 20

Deposit Amount : $_250.00 (one Pet)

$ 500.00 (two Pets)

TOTAL Deposit Pald: § Q Online Checking @ Online Credit Card

This Pet Deposit Is refundable, less the cost of cleaning or repairs (if necessary) that occurred due to Lessee(s)
pet(s).

Lessee(s) will be responsible for paying costs above and beyond the deposit amount.
3. Lessee(s) agrees that only the pet(s) described and named below will occupy the premises and no additional or
different pet is authorized under this Agreement.
4. Lessea(s) agrees to pay $25 pet rent, per pet.
5. Lessee(s) agrees that pet(s) will be kept inside the apartment at all times, except when on a leash and
accompanied by and under the control of Lessee(s).
6. Lessee(s) is responsible for any injury or damage to person(s) or property caused by any pet(s) permitted.
7, Any pet, when outside of Lessee(s) apartment, must be on a leash and kept away from all shrubbery.
8. This permission to have a pet can be revoked at any time If Lessor determines the presence of Lessee(s) pet to
be problematic for any reason whatsoever.
9, Lessee(s) agrees to submit to Lessor a current statement from his/her/thelr Veterinarian stating the age, breed,
weight, color, and record of vaccinations upon execution of this Pet Agreement.
10. Lessee(s) agrees to pay Lessor the aforementioned Pet Deposit upon execution of this Pet Agreement
11. The payment of an increased Security Deposit by Lessee(s) and acceptance by Lessor is a prerequisite to the

maintenance of a pet or pets in the apartment community. In order to keep the apartment community grounds clean,
beautiful, and sanitary, Lessee(s) shall pick up and properly dispose of pet waste. If Lessee(s) does not properly dispose
of pet waste, Lessee(s) agrees to permanently remove his/her/their pet or pets from the property. Lessee(s) shall keep
his/her/their pet or pets on a leash at all times while outside. Pets are not to be tied up or let out on patios or balconies.
Lessee(s) will be asked to remove any pet or pets that become bothersome to other tenants, whether inside or outside,

or constitutes a problem or obstruction to the agents and employees of the Owner from properly performing their functions
and responsibilities.

12. Pets are not permitted in the Clubhouse, pool, spa, or exercise areas at any time. We welcome all leased pets
into the rental office.
13, This Pet Agreement is hereby Incorporated into the Lease Agreement executed or renewed this day between
Lessor and Lessee(s).
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The Lakes at Lemmon Valley Apartment Management * 4655 Longley Lane, Suite 107 * Reno, NV 89502 %
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THE LAKES AT LEMMON VALLEY

Page 10 of 20

Maximum Two Pets Pet #1 | Pet #2
PERMIT # PERMIT #

BREED N/A BREED N/A

PET NAME 0s PET NAME ss eg

AGE / WEIGHT / |, JA AGE / WEIGHT /| 7

COLOR COLOR N/A
VETERINARIAN VETERINARIAN

ALL VET DOCS | Q YES Q NO ALL VET pocs | QO YES Q NO
PROVIDED Date Provided: PROVIDED TO THE | Date Provided:

TO THE LAKES LAKES MGMT.

MGMT.

By signing below, LESSEE(s) understand and agree that Lessor will not allow any pets without written consent. Failure to comply will
result in a $350 non-refundable pet fee and legal action up to and/or including eviction.

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Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 11 of 20
DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5AF

THE LAKES AT LEMMON VALLEY

POLICY AGREEMENT
Lessee(s) Name(s) : Dogbe, John & Dogbe, Alberta
Apartment Number:3814 Emergency Numbers: 911 (Police & Medical
Parking Space # : Covered: 504 & Emergencies) 775-334-2345 (FIRE
Uncovered: 530 Emergencies)
Mailbox # : ¥12 Use for:

® Reporting a FIRE

e Medical Emergencies

e Reporting a crime that meets the following cirteria:
o Is occurring NOW or within a 5-minute time lapse
o AND is an immediate threat to life or property
o AND/OR the responsible person is still on scene

Other Important Numbers:

The Lakes at Lemmon Valley Rental / Management Office : 775-737-4561
Towing Service : A2Z Towing 833-229-8699
Milne Towing Service : 775-359-0106
1, Conduct: All activities and conduct of Lessee(s), their family, children and guests in and around the premises and

common areas must be reasonable and not interfere with the peace, comfort, and quiet enjoyment of other residents and
management personnel.

2. Noise; Lessee(a), thelr family, children, and guests will respect the peace, comfort and quiet enjoyment

of other residents AT ALL TIMES. Musical instruments, radio, television, stereos, etc. should be played only at reasonable
hours, normally 8:00 am to 9:00 pm and at a reasonable volume.

3. Parking: Park only in your designated space. Parking permits are a MUST while on property. Cars parked In
unauthorized areas will be towed / booted. It is Lessee(s) responsibility to inform guests to park on the street or in visitor
designated areas. Lessee(s) shall not keep in or about said premises boats, campers, trailers, moblle homes, or other
recreational vehicles without a separate written agreement signed by Lessor. No repairs to vehicles are permitted on
premises at any time without written permission from Lessor. Abandoned, Inoperable, and un-registered vehicles will
be towed. LESSEE(S) AGREES THAT LESSOR WILL NOT BE RESPONSIBLE FOR THE TOWING CHARGE,
STORAGE FEE, OR DAMAGE INCURRED TO THE VEHICLE. Tampering with a boot or moving a vehicle

with a boot Ie a FELONY. /f tampering or movement is evident, the vehicle will be towed and charges will be brought
against you. The tenant of the parking space in violation is responsible for any damages to the boot. Any tenant
participating in or associated with criminal activity will be fined and will face eviction.

4, Trash: Wrap / bag all wet garbage/trash before placing in the appropriate dumpster. Boxes must be broken down
before being put into any dumpster. Do not place hot charcoal, grease, or any other flammable items In the trash
containers, Lessee(s) are expected to keep the garbage areas clean and free of litter. Lessea(s) will be charged for the
repair or cleanup if they, their family, or their guasts are found responsible for such action. Trash bags are not allowed to
be placed in front of the front door of any apartment or anywhere in the common area. If violated, a $25.00 fee will be
assessed, If Lessee(s), their family, or their guests are seen or found guilty of dumping furniture, tires, etc. Into Waste
Management Dumpsters and or surrounding areas, Lessea(s) will be fined and may face eviction.

5. Guest & Visitation Policy: Guests are permitted In Lessee(s) apartment for a period no longer than three (3)
days. EVICTED AND FORMER EVICTED TENANTS AND THEIR GUESTS ARE PROHIBITED FROM THE
PREMISES. Management reserves the right to prohibit the entrance of anyone onto the premises.

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The Lakes at Lemmon Valley Apartment Management * 4655 Longley Lane, Suite 107 % Reno, NV 89602 %
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THE LAKES AT LEMMON VALLEY

6. Maintenance Service Requests: Maintenance requests for all tenants of The Lakes at Lemmon Valley shall be
taken In person atthe on-site rental office or Lessee(s) can click on the Service Request link at
www.lemmon.twa.rentmanager.com . Lessor recommends Lessee(s) use the online service request system to initiate
maintenance requests due to the convenience It provides all parties and the tracking availability for management. In an
emergency, on holidays, or after hours, please call our 24-hour answering service at 775-737-4561 for all emergency
needs. Lessee(s) will be charged for repairs or maintenance caused by Lessee(s) neglect or abuse of property. All routine
maintenance will be handled by a Maintenance Service Request Form or through the on-line site. Please explain the
problem in detail and the exact location of the problem / item to be repaired. If you wish to have the work done and you
are NOT at home, we have permission to enter. In the event we allow you to schedule an appointment for maintenance
work to be done while you are present and you do not keep the appointment, it will be your responsibility to reschedule.
Damages caused by or attributable to Lessee(s) will be charged to the resident and added to the rent obligation as
additional rent. Maintenance will leave a message in your apartment explaining what has been done, and if necessary
when maintenance will return to complete the Job.

7. Alterations & Locks: Please check with the on-site rental office for acceptable methods of hanging pictures,
posters, plants, etc. as to avold damage to ceilings, walls, etc. Replacing locks is not permitted without prior written
permission from the Manager. Management will retain a passkey to all premises for emergency purposes.

8, Vandalism: Any Lessee, occupant, or quest found vandalizing, defacing, or participating in any other destructive
activity (including but not limited to graffiti) will be evicted immediately. Person or persons will also subject to criminal

charges and/or monetary charges to repair the property or premises. Lessee(s) is responsible for their family members and
guests’ behavior and activity.

9, Signs: No signs, signals, or advertisements shall be affixed to any part of the premises that can be seen
by the general public. Exterior installation of television antennas (including Satellite Dishes) or radio aerials is prohibited.
10. Windows: No Venetian Blinds, awnings, draw shades, curtains, or drapes will be installed on exterior windows

without prior written permission of Lessor. Lessee(s) will close all doors and windows when necessary to avoid damage
from storms, rain, or other elements and will be responsible for all damage resulting from failure to do so.

14. Electric Light Bulbs and Fluorescent Lights: Each apartment is completely furnished with light bulbs and
fluorescent lamps (where necessary) at the time Lessee(s) take possession. It is the Lessea(s) responsibility to replace all
light bulbs and fluorescent lamps thereafter with the same wattage bulb as originally provided.

12. Patlos/Balconies: Patios and balconies are to be kept In a neat and orderly manner at all times. No towels,
clothing, laundry, or other items are to be hung from balconies. Only patio furniture, electric barbeques, and plants are
permitted on patios/baiconies.

13. Storage: Only personal items are to be stored in the storage closet.. No gasoline, paint, or other flammable
material Is permitted to be stored on the premises. Bicycles must be stored in the Bicycle Storage room in
Clubhouse. Lessor is not responsibie for any loss or damage of any kind to Lessee(s) belongings left in storage rooms,
lockers, or common areas. Lessee(s) agree that Lessor is not responsible for the well-being of any items left in storage or
locker areas. Patios are to be kept In a clean and orderly manner at all times.

14, Miscellaneous Charges:
Light bulbs or fluorescent lamps $ 5.00 Duplicate Key (apartment only) $10.00
Change Lock (deadbolt) $50.00 Change Lock (passage only) $15.00
Lock Out (offlce hours) $25.00 Lock Out (after hours) $50.00
Littering (including trash areas) $25.00 Removal of pet feces $25.00
Parking (undesignated areas) $25.00
15. House Policy Modifications: Lessor reserves the right, upon thirty (30) days written notice to resident, to make

such further reasonable rules and policies as in its judgment may, from time to time, be needed for the safety, care,
cleanliness, protection, and preservation of good order therein.

18, Normal Refurblshment Charges are as Follows:
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The Lakes at Lemmon Valley Apartmant Management ® 4655 Longley Lane, Suite 107 # Reno, NV 89602 >
Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 13 of 20
DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5AF

THE LAKES AT LEMMON VALLEY

MOVE OUT CLEANING INSTRUCTIONS: Please note that all cleaning must be done by a professional
cleaning company, and a receipt must be provided. Upon Lessor's inspection, if Lessor does not believe the
professional cleaning company has satisfactorily cleaned the apartment, we will notify you of deficiencies, will
charge you for cleaning of the particular items (generally a flat charge that we pay our cleaning companies), the

charge will be taken out of your Security Deposit, and you will be required to obtain a refund directly from your
cleaning company.

1. Carpet - thoroughly vacuumed, shampooed, and all spots removed (Receipt from a professional cleaning
company MUST be provided.)

2. Flooring - All flooring (including {living room, bedroom(s), hallways, bathroom(s), kitchen, and deck/patio must be
thoroughly cleaned. (Receipt from a professional cleaning company MUST be provided.)

3. Windows & Blinds - thoroughly cleaned inside and accessible exterior windows must be cleaned. (Receipt from
a professional cleaning company MUST be provided.)

4. Patio/Balcony - swept off completely and all rubbish, patio furniture, BBQs, etc. must be removed.

5. Entire Apartment and patio storage, including range, exhaust fan, defrosting of refrigerator, bathrooms, closets,
and cabinets are to be thoroughly cleaned. (Receipt from a professional cleaning company MUST be provided.)

6. All debris, rubbish and discards must be placed in proper trash containers

Damage and replacement costs - including but not limited to the following - are subject to change
without notice:

KEYS & LOCKS KITCHEN CARPET CLEANING
Deadbolt $80.00 | Drawer $90.00 | Studio $100.00
Malibox $86.00 | Cabinet Door $190.00 | 1 Bdrm $120.00
Duplicate Key: Sink $$360.0 | 2 Bdrm /1 Bath $150.00
0
Apartment $10.00 | Faucet $160.00 | 2 Bdrm / 2 Bath $176.00
Mailbox $10.00 | Sink Sprayer $60.00 | Per Stain $20.00
Pool / Gym / Amenity FOB | $96.00 | APPLIANCES MISCEELANEOUS
‘DOORS Refrigerator $1,800. | Peep hole $10.00
, 00
Entry $600.00 | Microwave $360.00 | Refrigerator Handie $50.00
Patlo Storage $250.00 | Range $600.00 | Bathroom Mirror $226.00
Bathroom $226.00 | Dishwasher $400.00 | Switch Cover $6.00
Bedroom $225.00 | Garbage Disposal $120.00 | Outlet Cover $5.00
Closet $200.00 | Washer $800.00 | Oven Rack $30.00
Patio (Glass Door) $600.00 | Dryer $800.00 | Refrigerator Shelf $55.00
Hallway Closet $125.00 | BATHROOM, Refrigerator Shelf $55.00
Laundry $126.00 | Toilet $200.00 | Crisper Cover $45.00
WINDOWS Tollet Seat $45.00 | Patio Door Handle $36.00
Living Room $226.00 | Towel Bar $30.00 | Smoke Alarm $86.00
Bedroom $226.00 | Tollet Paper Holder $20.00 | Exterminator $200.00
Mint $160.00 | Shower Head $20.00 | Wall Repalr (per 8" area) $140.00
Bathroom $150.00 | Drawer $90.00
Patio $460.00 | Cabinet Door $190.00
Sink $200.00
Living Room $196.00 | Faucet $90.00 || PAC ST
Bedroom $196.00 $260.00 | ABANDO! P
Minl $96.00 Packing Per 4H $26.00
Person
Bathroom __.; $86.00 . $260.00 | Storage - Per Month $200.00
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The Lakes at Lemmon Valley Apartment Management * 4655 Longley Lane, Suite 107 * Reno, NV 89502 %
Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 14 of 20
DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5AF

THE LAKES AT LEMMON VALLEY

Patlo $180.00 | PAIN CLEANING
Slat $5.00 | Full - $900.00 | Per Hour/Per Person $40.00
Full - 1x1 $1,100.
00
Living Room $35.00 | Full- 2x1 $1,300. ee
00
Bedroom $36.00 | Full- 2x2 $1,600. | Studio $800.00
00
Mini $35.00 | Partial - Studio $400.00 | 1x1 $900.00
Bathroom $25.00 | Partial - 1x 1 $500.00 | 2x1 $1,000.
00
Patio $75.00 | Partial - 2x1 $650.00 | 2x2 $1,200.
00
LIGHT FIXTURES Partial - 2 x 2 $750.00 | ** Automatic § Carpet
l . | Replacement
Recessed LED $100.00 | Touch Up - Studio $200.00 | Due to Pet Odor / Stains”
Hallway LED $100.00 | Touch Up -1x 1 $260.00
Bathroom $66.00 | Touch Up - 2x 1 $300.00 TRASH
Bedroom $40.00 | Touch Up - 2 x 2 $350.00 | Per Bag $26.00
Patlo $40.00 | Calling - Studio $360.00 | Furniture $76.00
; oO Celling - 1x1 $400.00
/$$/ Square Foot $100.00 | Gelling - 2x4 $450.00
VINYL / PLANK Calling - 2x 2 $600.00
FLOORING
REPLACEMENT Holes - under 3" / per | $20.00
hole
$$ | Square Foot $20.00 | Holes - over 3" / per | $100.00
hole

FINANCIAL CONTRACT / AGREEMENT

1. Lessee(s) understand that If | / we do not pay my / our account with THE LAKES AT LEMMON VALLEY in full,
my / our account may be assigned to a collection agency for collection.

2. Lessee(s) understand that if my / our account is assigned to a collection agency, the collection agency will charge

a fee or commission

that may be as much as Thirty-Five Percent (35%) of the amount | / we owe to THE LAKES AT

LEMMON VALLEY. | agree that if my / our account is assigned to a collection agency, THE LAKES AT LEMMON
VALLEY may add the amount of the collection agency's fee or commission to the amount | / we owe THE LAKES AT

LEMMON VAL

hereunder, that

osand | / we agree to pay th

3 Lesse (sh (hderstand and agree that jn the
, will be responsible for a

{od amount.

id Attorney's fees.

C lcommenced to enforce my / our obligations

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THE LAKES AT LEMMON VALLEY

AUTHORIZATION TO ENTER AGREEMENT

Lessee(s) hereby give written authorization for THE LAKES AT LEMMON VALLEY to have access to my / our apartment
in case of an emergency, in the event maintenance needs to be done on my / our apartment when | / we are not at home,

or in the event of a,yeported hazardous conditier—ps
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KEY AGREEMENT
1 Lessea(s) agrees that a minimum of one (1) mailbox key will be issued per apartment upon move-in.
2 Lessee(s) agrees that a minimum of one (1) apartment key will be issued per Lessee upon move-in.
3. Lessee(s) agrees that a minimum of one (1) gate controller will be issued per apartment upon move-in.
4 Lessee(s) agrees that the amenity keys or keyfobs may not be duplicated or used by anyone other than Lessee(s)
at any time.
5. Lessee(s) agrees to pay including, but not limited to, the following charges If key(s), gate controller(s), or A/C Heat
controllers become lost, stolen, damaged, or otherwise not returned to management upon vacating my / our
apartment:
Type of Key, Remote, Sticker, # Kay / Remote / Controller | Number / Serial Replacement
Controller etc. lsaued Number Cost
Apartment Key $10.00
Mailbox Kay $10.00
AIC - Heat Controller Remote $115.00
Fireplace Remote (If applicable) $95.00
Gym/Amenity Entry Key $96.00
Parking Permit Sticker or $40.00
Identification
Entry Gate Controller $95.00

NEW CONSTRUCTION AMENDMENT

Lessee(s) understand that the apartment unit leased is part of a new apartment community currently under construction,
and Lessea(s) Is / are the first tenant(s) to occupy the premises. Due to the fact that the subject premises, the building In
which such premises reside, and the overall project is of new construction, there may be from time to time construction
defects within the premises and the aforementioned bullding that arise as well as additional inconveniences due to
construction outside the aforementioned bullding. Lessor(s) agrees that upon notification by THE LAKES AT LEMMON
VALLEY of any such defects to the premises, Lessor(s) will use its commercially reasonable efforts to have such defects
repaired as soon as practically possible. Notwithstanding the foregoing, however, Lessee9s) hereby understands and
agrees that any reasonable Inconvenience created by way of such defects or Its corrective work Is a condition for the
opportunity of leasing anew apartment unit never occupied before and there will be no additional compensation or rental
credits in return for such inconvenience. Furthermore, Lessee(s) also understands and agrees that there will be no
additional compensation or rental credits In return for Lessee(s) inconvenience or reasonable lack of quiet enjoyment due
to noise and construction outside the premises, ss

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Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 16 of 20

THE LAKES AT LEMMON VALLEY

EMERGENCY EVACUATION ACKNOWLEDGEMENT

In consideration for the execution or renewal of a lease of the dwelling unit identified in this Lease, Manager or Owner and

Lessee(s) agrees as follows: Lessee(s) acknowledge that they have received a copy of the Emergency Evacuation Plan

for your unit bulking as required by the City of Reno Fire Department.
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BEDBUG & PEST ADDENDUM

Lessee(s) understands that they are given a certified pest free unit. Bedbugs in particular travel through items, clothing,
people, or some other type of host. Bedbugs are brought into living environments, and Lessee(s) understands that If
bedbugs are found in thelr unit, they will be financially responsible for the extermination services for ALL affected units,
which may include ALL adjacent units. Lessea(s) agrees to Inform THE LAKES AT LEMMON VALLEY Management of
ANY pest found in their unit. Failure to do so can result in legal! action up to and Including eviction plus extermination costs

for ALL adjacent units. Lessee(s) understands typical costs per unit for extermination services are as follows:

Studio $200 1/1 $300 2/1 $400 2/2 $600
D : 5
The above opsts "are estimates and actud! casts pou be bong lower depending on the pest and level of infestation.
Lessee Signature __| a V Lessee Signature | ! Lessee Signature Lessor's Signature
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CRIME FREE LEASE ADDENDUM

In consideration for the execution or renewal of this Lease, Manager or Owner and Lessee(s) agree as follows:

Lessee(s), any member(s) of the Lessea(s) household, guest or any other person affiliated with the Lessee(s) at or near
the Lessee(s) premises:

1. Shall not engage in criminal activity, including drug-related criminal activity, on or near the said premises. "Drug
related criminal activity’ means the illegal manufacture, sale, distribution, use, or possession with intent to manufacture,
sell, distribute, or use an illegal or controlled substance (as defined in Section 102 of the Controlled Substance Act (21

U.S.C. 802).
2. Shail not engage In any act intended to facilitate criminal activity.
3, Shall not permit the dwelling unit to be used for, or to facllitate criminal activity.
4, Shall not engage In the unlawful manufacture, selling, use, storage, keeping, or giving of an illegal or controlled
substance as defined in N.R.S. 453.566 and N.R.S. 453.321 at any locations, whether on or near the dwelling unit
premises.
5, Shall not engage in any illegal activity, including but not limited to:
A. __-—Rerostitution as defined in N.R-S-201 ae \ | the
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Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 17 of 20
DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5AF

THE LAKES AT LEMMON VALLEY

B. Criminal street gang activity as defined in N.R.S. 193.168.

C. Assault and battery as prohibited in N.R.S. 200.471 and N.R.S. 200.481, including domestic battery.

D. The unlawful discharge of a weapon on or near the dwelling unit premises, as prohibited in N.R.S.
Chapter 202.

E. Any breach of this Lease Agreement that jeopardizes the health, safety, and welfare of the Lessor, his

agents, or other tenant(s), or involving imminent or actual serious property damage.

6. VIOLATION OF THE ABOVE PROVISIONS SHALL BE A MATERIAL AND IRREPARABLE VIOLATION OF
THIS LEASE AND GOOD CAUSE FOR IMMEDIATE TERMINATION OF TENANCY. A single violation of any of the
provisions of this Addendum shall be deemed a serious violation and material and irreparable non-compliance of the
Lease. It is understood that a single violation shall be good cause for immediate termination of the Lease. Unless
provided by law, proof of violation shall not require a criminal conviction, but shall be by a preponderance of the evidence.

7. In case of conflict between the provisions of this Addendum and any other provisions of the Lease, the provisions
of this Addendum shall govern.
8. The foregoing AGREEMENTS, ACKNOWLEDGEMENTS, and ADDENDUMS are hereby incorporated into the

Lease executed or renewed this day between Manager or Owner and Lessee(s).

Package Agreement
US Post office packages will be brought into the clubhouse once the package lockers are full or the package is too large to
fit. Amazon Sunday packages will automatically come to the clubhouse. FedEx, UPS, OnTrac may also come to the
clubhouse. Lakes at Lemmon Valley is not liable for missing/lost packages. If you do not wish for the packages to come
to the office, please notify the shipper. You will be responsible to bring ID with you when you pick up your package and
sign for it. If the package does not match the ID, we will not release the package. If you do not pick up the package within
72 hours, the package will be returned to sender.

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The Lakes at Lemmon Valley
7714 Sky Vista Parkway, Reno, NV 89506 = 775-737-4561

CONSTRUCTION AWARENESS—LETTER OF ACKNOWLEDGEMENT

Date: \| | 40/10 Tenant Name: Dog be
Apartment # : 4 6 (U

| { we hereby acknowledge The Lakes at Lemmon Valley is still under construction, and | / we understand
certain areas of the property will be closed off and not accessible from time to time during construction.

| /we understand there will be orange fencing placed throughout the property, and | / we will not be
allowed to enter the fenced off areas for my / our own protection.

| / we understand the orange fencing will be moved from time to time during construction, and 1 / we
agree to be mindful of placement of the orange fencing and not enter the area or areas where it {s placed.

| / we understand there may be open trenches throughout the property during construction, and | / we
understand and agree to be mindful of these areas and to not enter any areas that have open trenches.

|/ we understand there will be heavy equipment moving throughout the property during construction, and
| / we agree to be mindful of such equipment movement at all times for my / our own protection and to
provide right of way for any and all heavy equipment moving on the property.

| / we understand parking will be available to me / us only near our apartment unit and! / we as well as
our guests will not be allowed to drive and / or park in any area not designated for my / our use.

| / we understand finish work will be ongoing throughout the property during construction, and areas will
be closed off any time this finish work is being done.

DocuSigned by:

fUberta Donloe 10/14/2022

Tenant Signature: Date:

Tenant Printed Name:

Alberta Dogbe

C4 pl gmt 10/13/2022

Tenant Signature: Date:
Boorescucuyars,
John Dogbe

Tenant Printed Name:

Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 19 of 20
DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5AF

Outdoor Fire Pit Usage and Rules;

Tenant(s) assume full financial responsibility for anv and all damages done to grounds vo
furniture resulting [rom usage of the amenities.

The Lakes at Lemmon Valley is not responsible lor any bodily harm caused by usage of 1:
amenities to yourself and or any guests under your supervision.

Fire pit rules and guidelines:

(i) The spark shroud must be covering and containing the fire at all times.
(il) Residents are not permitted lo burn any trash or scraps.

(iit) Only store-bought firewood is permitted,

(iv) = No chemical logs or charcoal are permitted.

(v) The fire may not be lefi unattended at any time.

(vi) All wood must be burnt to ash or removed from the pit before closing.

(vil) The flame must be extinguished and covered no later than 9pm.

(viii) Any trash le(t at the fire pits or misconduct may result in a 30-day suspension wu
amenity privileges.

By signing this agreement, tenant(s) listed below agree to all statements and terns.

. Alberta Dogbe 10/14/2022
Print Name(s): / Date:

John Dogbe 10/13/2022

Apartment Number: 2, Bl

DocuSigned by: DocuSigned by:
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Case 3:24-cv-00283-ART-CSD Document 1-2 Filed 07/03/24 Page 20 of 20
DocuSign Envelope ID: 4D009B27-4EB2-4958-BCE1-3FF31DAEA5SAF

COMMUNITY GUIDELINES ADDENDUM
Move in date: \| [2 ol? (tenant name: Dogo Ee Apartment number: 2 U

Parking:

| / we understand the parking policy for The Lakes at Lemmon Valley. This policy states that tenants are required to park in
their assigned parking spots. All guests coming onto the property with a vehicle are required to get a visitor pass for their
vehicle. Guests are required to park in a spot labelled with a “V”. Tenants or guests can come to the office to get a visitor

pass, whichever is most convenient. All vehicles parked on the property by tenants or guests are subject to towing at their
expense.

Garbage: ;

| / we understand the garbage policy for The Lakes at Lemmon Valley. This policy states that tenants are not allowed to
leave garbage in front of their door, or on their patio / balcony. All tenants are required to break down any boxes that are
being placed inside the trash enclosure. Tenants are not allowed to dispose of any large items / furniture of any kind In the
dumpsters/trash enclosures. If any tenants are found to have disposed of any large items / furniture they will be charged a
$100 removal / dump fee. Tenants are also required to open the lids of the dumpsters to dispose of their trash and not
place any trash on top of the lids.

Guests:

1 / we understand the guest policy for The Lakes at Lemmon Valley. This policy states that guests are permitted in
apartments for a period no longer than 3 consecutive days, or 14 days out of a given month. Tenants are not allowed to
have more than 2 guests at the amenities unless there is a special event or circumstance with written permission from The
Lakes at Lemmon Valley to have more than 2 guests. All guests must be accompanied by a leaseholder at all times.

Pets:

| / we understand the pet policy for The Lakes at Lemmon Valley. This policy states that tenants are not allowed to have any
pets off leash, or unattended on the property. Tenants are not allowed to leave their pets on patios / balconies while they
are not at hame. No pets are allowed to urinate / defecate on the patios / balconies. Tenants are required to pick up any
feces from their pet on the property as well. The Lakes at Lemmon Valley has provided pet stations with bags and a waste
can, to dispose of pet waste throughout the property grounds.

Lease break:

| / we understand the lease break policy for The Lakes at Lemmon Valley. This policy states that tenants who terminate
their lease early will be required to pay a one month lease break fee. Tenants will pay one additional month of rent for the
fee after they have vacated the unit as penalty. After the lease break fee has been paid tenants will no longer be
responsible for the fermor Wit ase.

Alberta babe 10/14/2022
Tenant Signature: de f Date:
Alberta Dogbe
Tenant Printed Name: Si -~
. 10/13/2022
Tenant Signature: C f sii 0 4 Date:

Tenant Printed Name:

